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 2
                            UNITED STATES DISTRICT COURT
 3
                                 DISTRICT OF NEVADA
 4
     KPG Investments, Inc. et al,                    Case No. 3:22-cv-00236-ART-CLB
 5
                                    Plaintiff,                  ORDER
 6          v.
 7   Marlena Sonn,
 8                               Defendant.
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10
     IT IS ORDERED that KPG Investments, Inc. and Kendalle Getty v. Marlena Sonn,
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     Case No. 3:22-cv-00236-ART-CLB (filed in Washoe County District Court on
12
     March 17, 2022 and removed to the United States District Court for the District
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     of Nevada on May 26, 2022), and Marlena Sonn v. Kendalle P. Getty, et al, Case
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     No. 2:22-cv-01137-APG-BNW (filed in the United States District Court for the
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     Eastern District of New York on May 11, 2022 and transferred to the United
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     States District Court for the District of Nevada on July 18, 2022—later assigned
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     Case No. 3:22-cv-00323-ART-CLB), involve common questions of law and fact,
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     and pursuant to FRCP 42(a) and Local Rule 42-1(a), are hereby consolidated into
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     KPG Investments, Inc., et al, v. Marlena Sonn, retaining the first-filed Case No.
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     3:22-cv-00236-ART-CLB, and are referred to herein as the Consolidated Action.
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22
     IT IS FURTHER ORDERED that all parties to the Consolidated Action will
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     participate in a settlement conference pursuant to Local Rule 16-5. Counsel will
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     be contacted by the Court to schedule the settlement conference for the
25
     Consolidated Action.
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 1   IT IS FURTHER ORDERED that the Consolidated Action is stayed in its entirety

 2   pending the conclusion of the settlement conference.

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 4   IT IS FURTHER ORDERED that if the settlement conference does not resolve the

 5   Consolidated Action, each parties’ responsive pleading shall be due 21 days after

 6   the conclusion of the settlement conference.

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     IT IS SO ORDERED:
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           DATED THIS 27th day of July 2022.
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                                          ANNE R. TRAUM
14                                        UNITED STATES DISTRICT JUDGE

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